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                        FOR THE SOUTHERN DISTRICT OF TEXAS
                              BROWNSVILLE DIVISION

STATE OF TEXAS, et al.,                  §
                                         §
              Plaintiffs,                §
                                         §
        v.                               §   Case No. 1:18-CV-68
                                         §
UNITED STATES OF AMERICA, et al.,        §
                                         §
              Defendants,                §
                                         §
and                                      §
                                         §
KARLA PEREZ, et al.,                     §
                                         §
              Defendant-Intervenors,     §
                                         §
and                                      §
                                         §
STATE OF NEW JERSEY,                     §
                                         §
              Defendant-Intervenor.      §



   DEFENDANT-INTERVENORS’ MOTION TO COMPEL DISCOVERY FROM
PLAINTIFF STATE OF TEXAS AND TO DISMISS ALL OTHER PLAINTIFF STATES
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I.     STATEMENT OF THE ISSUES TO BE RULED UPON BY THE COURT

       Since June 2018, Plaintiff States have provided no discovery documents or new

information to Defendant-Intervenors Karla Perez, et al. (“Defendant-Intervenors”). Despite this

Court acknowledging in its opinion denying Plaintiff States’ Motion for Preliminary Injunction

that further discovery was needed, and setting a robust discovery schedule thereafter, Plaintiff

States have continued to obstruct discovery in an effort to rush this matter to summary judgment

on a preliminary injunction record.     Particularly in light of Plaintiff States’ pending—and

premature—Motion for Summary Judgment, Defendant-Intervenors respectfully request that the

Court compel the State of Texas to participate in discovery. Specifically, Defendant-Intervenors

request that the Court compel the State of Texas to answer Interrogatories Nos. 4-15 and 18-21,

produce discovery responsive to Requests for Production Nos. 2 and 8, and supplement previous

unverified and deficient responses. See Ex. 11 at 6-19; Ex. 15 at 8-10.    Defendant-Intervenors

further request that the Court order Plaintiffs to verify their answers and to specify in their

responses and objections when they are unable to produce the discovery requested by Defendant-

Intervenors because the information Defendant-Intervenors seek does not exist.

       In addition, Defendant-Intervenors request that the Court dismiss the Plaintiff States other

than Texas from the case or enter an order now declaring that the other Plaintiff States lack

standing to pursue their claims.

       Defendant-Intervenors also request that the Court extend all deadlines in the Rule 16

scheduling order for a period of time equal to the number of days between the filing of this

motion and the day Texas produces a complete, supplemental production to Defendant-

Intervenors. Finally, Defendant-Intervenors request that the Court order Plaintiff States to pay




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reasonable expenses incurred by Defendant-Intervenors in connection with this motion. See Fed.

R. Civ. P. 37(d)(3); Fed. R. Civ. P. 37(c)(1)(A).

II.       SUMMARY OF THE ARGUMENT

          During the preliminary injunction phase of this case, Plaintiff States claimed that further

discovery would only be appropriate following resolution of their Motion for Preliminary

Injunction; following this Court’s denial of that Motion, Plaintiff States now claim that no

further discovery is warranted. The contradictory positions taken by Plaintiff States before and

after denial of their Motion for Preliminary Injunction make clear their overt and transparent

effort to evade the ordinary discovery process. This Court should not countenance such a

subversion of the process.

          During this current discovery period, Defendant-Intervenors have sought responses to

their previously-served discovery, and have also, consistent with this Court’s scheduling order,

propounded new discovery requests. Plaintiff States improperly refuse to provide the requested

discovery.     Plaintiff States have also refused entirely to provide any discovery relating to

Plaintiff States other than the State of Texas, acting as though these additional Plaintiffs are

immune from any discovery obligations despite their decision to participate as parties in this

action.

          Defendant-Intervenors are entitled to discovery that is relevant to their claims so long as

the materials are not privileged and are proportional to the needs of the case. See Fed. R. Civ. P.

26(b)(1). The refusal by Texas to respond to Defendant-Intervenors’ outstanding discovery

requests, with the erroneous argument that no genuine issues of material fact exist and that the

Court has already issued a final ruling on Texas’s standing, is without merit. See Ex. 9; Ex. 16 at

6-11. The discovery Defendant-Intervenors seek goes to critical (and not yet decided) issues in




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the case, including Texas’s standing and the scope of any potential remedy. In addition, the

complete failure of states other than Texas to participate in discovery warrants their dismissal or,

at the very least, an order concluding that these states lack standing.

III.       STATEMENT OF THE NATURE AND STAGE OF PROCEEDINGS

           A.     At the beginning of this case, the parties conducted limited, expedited
                  discovery and Plaintiff States provided only a handful of paper discovery

           On May 30, 2018, this Court ordered the parties to conduct limited expedited discovery

related to Plaintiff States’ motion for a preliminary injunction. See Dkt. 53. Pursuant to that

order, Defendant-Intervenors served several discovery requests on Plaintiff States. See Exs. 1-4.

           Plaintiff States provided only a few documents in response to these requests, and in each

case justified their withholding by alluding to their intention—now apparently abandoned, given

their pending Motion for Summary Judgment—to participate in a more fulsome discovery

process during “the normal discovery period:”

          First Set of Discovery Requests.          Defendant-Intervenors first set of interrogatories

           tracked the language in Federal Rule of Civil Procedure 26(a) related to initial

           disclosures, and asked Plaintiff States to produce documents identified in their answers to

           those interrogatories. See Ex. 1 at 6-9. In response to Defendant-Intervenors’ request to

           produce these documents, Plaintiff States referred to their complaint and their motion for

           preliminary injunction. Id. at 9. Beyond pointing to these materials, Plaintiff States

           produced only ten documents. 1           Plaintiff States did not explain whether further


1
  Those ten documents were: (1) a chart from the Texas Education Agency from February 2018; (2-4) three publicly
available reports from the Department of Homeland Security (DHS) titled “Estimates of the Unauthorized
Immigrant Population Residing in the United States” as of January 2006, 2011, and 2012; (5) a 2006 report from the
Texas Office of the Comptroller titled “Undocumented Immigrants in Texas: A Financial Analysis of the Impact of
the State Budget and Economy;” (6) a public report from the U.S. Department of Health and Human Services,
Office of Refugee Resettlement, showing the total number of unaccompanied minors released to sponsors from



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         responsive documents exist and were being withheld, but noted that “Plaintiffs may

         supplement this response, if necessary, with additional information once this case

         proceeds to the normal discovery period . . . .” Id.

        Second Set of Discovery Requests. In response to Defendant-Intervenors’ interrogatories

         and requests for documents related to Plaintiff States’ labor market distortion claims and

         alleged costs incurred as a result of DACA, Plaintiff States generally objected to these

         requests on the basis that the requests sought information “outside the scope of limited

         expedited discovery.” See Ex. 2 at 6-18. Subject to these objections, Plaintiff States

         produced only 6 documents in response to these requests.2 Again, Plaintiff States did not

         explain whether further responsive documents exist and were being withheld, and

         represented that they “may supplement [their] response[s] as expedited discovery

         proceeds and . . . once this case proceeds to the normal discovery period after the Court’s

         ruling on the motion for preliminary injunction.” Id.3

         B.       The Court entered a discovery schedule after denying Plaintiff States’
                  requests for summary judgment and a preliminary injunction

         In November 2018, the Court entered a Rule 16 scheduling order that provided for a

discovery deadline of August 21, 2019. See 11-14-18 Minute Entry (setting Scheduling Order

and Trial Settings); see also Dkt. 343 (noting that “a scheduling order is now in place”). The

October 2014-January 2018 by state; and (7-10) four charts which appear to relate to Texas school finance. See Ex.
18 ¶ 3.
2
  Specifically, Plaintiff States produced: (1) a chart from the 2016 American Community Survey for Texas showing
the total number of U.S. citizens and undocumented immigrants in the state as of 2016; (2-5) four Excel
spreadsheets with no description; and (6) a publicly available report from DHS titled “Estimates of the Unauthorized
Immigrant Population Residing in the United States: January 2014.” See Ex. 18 ¶ 2. Plaintiff States also again
referred Defendant-Intervenors to Plaintiff States’ complaint and motion for preliminary injunction. See Ex. 2 at 6-
18.
3
  Defendant-Intervenors’ third set of discovery requests tracked the language in the Federal Rules related to expert
disclosures and asked Plaintiff States to identify information related to Plaintiff States’ experts at the preliminary
injunction stage. Compare Ex. 3 with Fed. R. Civ. P. 26(a)(2), 26(b)(4)(C). Defendant-Intervenors’ fourth set of
discovery requests are one narrow interrogatory and two narrow requests for production related to Texas public
education costs. See Ex. 4. Neither of these two sets of discovery requests is at issue in this motion.



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Court subsequently set a new discovery deadline of September 9, 2019, after Federal Defendants

failed to cooperate with discovery because of the lapse in congressional appropriations. See Dkt.

367. At least four months of discovery remain under that extended deadline.

       C.      Plaintiff States have provided no new documents or information in the
               current discovery period

               1.      Plaintiff States provided deficient initial disclosures

       On November 6, 2018, Plaintiff States served their initial disclosures. Ex. 5. Plaintiff

States generally objected to producing initial disclosures on the basis that “controlling issues [in

the case] are legal questions or questions of fact that are not in genuine dispute.” Id. at 4.

Plaintiff States further asserted that “[t]o the extent that any factual information is discoverable,”

the individuals likely to have discoverable information “are those who Plaintiffs disclosed on

their [preliminary injunction] witness lists as well as the witnesses who submitted declarations in

the briefing over Plaintiffs’ motion for preliminary injunction.” Id. As to the location and

category of discoverable documents and tangible items, Plaintiff States merely referred

Defendant-Intervenors to exhibits to Plaintiff States’ motion for preliminary injunction. Id.

               2.      Plaintiff States failed to supplement their responses to discovery requests
                       served by Defendant-Intervenors during expedited discovery

       Although Plaintiff States were obligated to supplement their responses to the expedited

discovery requests, and they promised to do so, Plaintiff States have provided no interrogatory

responses or documents to Defendant-Intervenors since June 29, 2018. See Ex. 18 ¶¶ 6-7.

       On November 12, 2018, Plaintiff States served on Defendant-Intervenors amended

objections and responses to several of Defendant-Intervenors’ discovery requests, including the

requests related to Plaintiff States’ alleged costs resulting from DACA and labor market

distortion claims. See Exs. 10-13. These responses included no new documents or interrogatory




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responses. Compare Ex. 2 at 6-18 (stating Plaintiff States “may supplement [their] response[s]

as expedited discovery proceeds and . . . once this case proceeds to the normal discovery period

after the Court’s ruling on the motion for preliminary injunction.”) with Ex. 11 at 6-19

(reiterating objections and citing to e-court filings).

           Plaintiff States make boilerplate objections that the discovery requests are overly broad,

burdensome and outside the scope, but do not support these objections with a declaration,

affidavit, or other evidence, and do not specify the nature of the burden or overbreadth. See Ex.

11 at 6-19. Plaintiff States also assert that they need not respond to this discovery, because the

Court has already “acknowledged” that Plaintiff States “have clearly shown that their injury is

more than the identifiable trifle needed to establish standing.” Id. In addition, Plaintiff States

did not verify their answers to any of Defendant-Intervenors’ interrogatories. See Fed. R. Civ. P.

33(b)(5).

           D.        Plaintiff States failed to respond to discovery served on them during this
                     regular discovery period

           On February 1, 2019, Defendant-Intervenors served on Plaintiff States a fifth set of

discovery requests relevant to work-study program and border security costs.                    See Ex. 15.

Plaintiff States asserted these costs for the first time after expedited discovery had concluded.

See Dkt. 218 at 33, 45; see also Dkt. 288 at 12, n. 2.4

           On March 4, 2019, Plaintiff States served their responses and objections to Defendant-

Intervenors’ fifth set of discovery requests. See Ex. 16. Plaintiff States produced no responsive

discovery and objected to these requests on the basis that the requests are broad, burdensome,

and outside the scope of discovery because these requests “are only relevant to standing, an issue

already decided by this court.” Id. at 6-11.
4
    Three days later, Plaintiff States filed their motion for summary judgment. See Dkt. 356.



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          E.     Plaintiff States recycled two experts (neither of whom offers an opinion
                 about education, law enforcement, health care, or border security costs) and
                 identified fact witnesses that purport to offer testimony on costs only as to
                 the State of Texas

          Pursuant to the Court’s scheduling order, Plaintiff States served their expert disclosures

on Defendant-Intervenors on March 19, 2019. See Ex. 17. Plaintiff States disclosed two experts,

Dr. Donald Deere and Dr. Lloyd B. Potter, both which had previously offered an expert opinion

in this case at the preliminary injunction stage. See id.; Dkt. 358-21; Dkt. 358-31. Dr. Potter is

an appointed State Demographer of Texas who offers an opinion about the likelihood that DACA

recipients will return to their country of origin. Dkt. 358-31 at ¶¶ 2-11. Dr. Deere is an

economist who offers an opinion about the labor market impact of DACA and the employer

mandate provision of the Affordable Care Act. See Dkt. 358-21 ¶¶ 5, 13. Neither of these

experts offers an opinion about education, law enforcement, health care, or border security costs

to any Plaintiff States as a result of DACA.

          Plaintiff States have also identified two lay witnesses, Ms. Monica Smoot and Mr.

Leonardo R. Lopez, as persons likely to have discoverable information in the case. See Ex. 5;

Dkt. 7 at 21-30. Neither of these witnesses offers testimony about law enforcement or border

security costs to the State of Texas, let alone testimony about any costs to the other Plaintiff

States.

          F.     Defendant-Intervenors attempted to obtain responses to their discovery
                 requests

          Because Plaintiff States only identified witnesses and produced documents related to

Texas in their initial disclosures, on November 2, 2018, Defendant-Intervenors wrote to Plaintiff

States asking them to provide initial disclosures for all other Plaintiff States. See Ex. 6. On




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November 12, 2018, Plaintiff States responded to Defendant-Intervenors, summarily stating that

Plaintiff States’ initial disclosures “were provided on behalf of all Plaintiff States.” Ex. 7.5

         On February 1, 2019, Defendant-Intervenors sent a letter to Plaintiff States detailing a

number of deficiencies in Plaintiff States’ responses and objections to Defendant-Intervenors’

discovery requests. See Ex. 14. It was not until March 4, 2019—a month after filing their

motion for summary judgment and more than a month after Defendant-Intervenors sent Plaintiff

States their deficiency letter—that Plaintiff States sent a response letter to Defendant-

Intervenors, stating that Plaintiff States’ amended responses and production “do not require

supplementation, as there are no genuine issues of material fact that require additional

development before the Court can rule on Plaintiff States’ claims as a matter of law” as set forth

in Plaintiff States’ motion for summary judgment. See Ex. 9.

IV.      LEGAL STANDARD

         Pursuant to Rule 26 of the Federal Rules of Civil Procedure, Defendant-Intervenors are

entitled to discovery that is relevant to their claims so long as the materials are not privileged and

are proportional to the needs of the case. See Fed. R. Civ. P. 26(b)(1). Discovery rules “are to

be accorded a broad and liberal treatment.” Schlagenhauf v. Holder, 379 U.S. 104, 114 (1964).

This Court “has broad discretion in discovery matters.” Scott v. Monsanto Co., 868 F.2d 786,

793 (5th Cir. 1989).

         A party seeking to resist discovery bears the burden of showing specifically how each

discovery request is not relevant or otherwise objectionable. See McLeod, Alexander, Powel &

Apffel, P.C. v. Quarles, 894 F.2d 1482, 1485 (5th Cir. 1990) (finding conclusory recitation of

5
 Defendant-Intervenors subsequently sought clarification from Plaintiff States regarding, among other things,
whether Plaintiff States intended to rely on any declarations from other states from the Texas I litigation. See Ex. 8.
Plaintiff States represented that “[c]onsistent with [Plaintiff States’] representations . . . in the past, Plaintiff[s] do
not intend to rely on those declarations at this time.” Ex. 9.



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burdensomeness, relevancy, and overbreadth inadequate); see also Merrill v. Waffle House, Inc.,

227 F.R.D. 475, 478 (N.D. Tex. 2005) (stating that the Fifth Circuit does not employ a burden

shifting approach; the burden of resisting discovery remains on the party opposing discovery at

all times).

        If a party fails to answer an interrogatory or fails to produce documents, the aggrieved

party may move for an order to compel discovery from the Court under Rule 37. See Fed. R.

Civ. P. 37(a)(3)(B). For purposes of Rule 37, an evasive or incomplete disclosure, answer, or

response is treated as a failure to disclose, answer, or respond. See Fed. R. Civ. P. 37(a)(4).

Failure to produce discovery is “not excused on the ground that discovery was objectionable,

unless the party failing to act has a pending motion for a protective order under Rule 26(c).”

Fed. R. Civ. P. 37(d)(2).

V.      ARGUMENT

        A.     Defendant-Intervenors are entitled to discovery pursuant to this Court’s
               Rule 16 Scheduling Order

        The State of Texas categorically refuses to respond to Defendant-Intervenors’

outstanding discovery requests, with the erroneous argument that no genuine issues of material

fact exist and that the Court has already issued a final ruling on Texas’s standing. See Ex. 9; Ex.

16 at 6-11. Texas’s wrongful withholding of information on this basis is without merit for a

number of reasons and Defendant-Intervenors are entitled to an order compelling Texas’s

responses.

               1.      The preliminary injunction record is replete with genuine disputes as to
                       material facts

        First, as more fully set forth in Defendant-Intervenors’ motion to defer consideration of

summary judgment, which Defendant-Intervenors herein incorporate by reference, fundamental




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facts are yet unknown, precisely because Plaintiff States refuse to cooperate in the discovery

process. See Dkt. 363 at 3. Even based on the limited discovery obtained to date, the current,

preliminary injunction record is replete with “genuine disputes as to [] material fact[s]” that

would, without further supplementation, preclude entry of summary judgment on the merits. See

Dkt. 363 at 7 (citing Fed. R. Civ. P. 56(a); Lynch Props., Inc. v. Potomac Ins. Co. of Illinois, 140

F.3d 622, 625 (5th Cir. 1998)). In its opinion denying Plaintiff States’ motion for preliminary

injunction, the Court repeatedly noted that the record upon which Plaintiff States now seek final

resolution was preliminary, incomplete, and required supplementation before a final resolution

could be reached. See, e.g., Dkt. 319 at 115 (“Here, the egg has been scrambled. To try to put it

back in the shell with only a preliminary injunction record, and perhaps at great risk to many,

does not make sense nor serve the best interests of this country.”) (emphasis added); id. at 31

(analyzing standing “[a]t the preliminary injunction stage”). The Court expressly contemplated

that the record would be supplemented by further discovery and highlighted critical facts that

remain uncertain and unresolved. See, e.g., id. at 106 (“The Defendant-Intervenors maintain that

Texas, the only state that attempted to prove damages, did not suffer any real loss on a net basis,

and that these costs are more than offset by the economic advantages that Texas derives from the

DACA recipients, a position on which they may ultimately be proven correct when this case is

tried on the merits.”). Prior to a final judgment on the merits, and during the period set by this

Court’s Scheduling Order for this very purpose, Defendant-Intervenors should be allowed to

obtain discovery to illuminate these issues.

       Plaintiff States’ transparent efforts to evade participating in the discovery process during

the period set by this Court, despite earlier having expressed the intention to provide additional

discovery during the “normal discovery period,” should be rejected wholesale.




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                 2.       Discovery is not stayed in this case

        Second, Plaintiff States are wrong to withhold discovery based on the claim that

discovery is supposedly stayed in this case pending resolution of their premature motion for

summary judgment.6 Discovery is not stayed, and Plaintiff States cannot automatically simply

truncate the discovery process by filing such a motion. See Areizaga v. ADW Corp., No. 3:14-

CV-2899-B, 2016 WL 3536859, at *2 (N.D. Tex. June 28, 2016) (“[F]iling a Federal Rule of

Civil Procedure 56 motion for summary judgment does not automatically stay discovery until the

motion is resolved”); Stambler v. Amazon.com, Inc., No. 2:09-CV-310 DF, 2011 WL 10538668,

at **4, 8, 10 (E.D. Tex. May 23, 2011) (granting motion to compel in favor of plaintiffs, noting

that defendants “cite no authority for the proposition that the responding party can craft its own

remedy by deciding which interrogatories (or subparts) to answer and which to ignore” and by

“unilaterally undert[aking] the balancing analysis of Rule 26” and “impos[ing] non-production as

‘self-help’ sanction”); see also Kramer v. NCS Pearson, Inc., No. CIV. 03-1166 JRTFLN, 2003

WL 21640495, at *2 (D. Minn. June 30, 2003) (“Discovery is not automatically placed on hold

while alternate motions are pending.”) (collecting cases).

        Discovery is ongoing pursuant to this Court’s scheduling order, and Plaintiff States must

produce all non-privileged material that is relevant to Defendant-Intervenors’ requests. Plaintiff

States have not moved for a stay of discovery or for a protective order in this case, and they

impermissibly impose non-production as self-help. See Fed. R. Civ. P. 37(d)(2) (failure to

answer and produce discovery is “not excused on the ground that discovery was objectionable,

unless the party failing to act has a pending motion for a protective order under Rule 26(c)”);

Harmon v. Georgia Gulf Lake Charles L.L.C., 476 F. App’x 31, 39 n. 4 (5th Cir. 2012) (noting

6
 See Ex. 9 at 2 (“The parties can discuss whether supplementing discovery responses is needed should the Court
rule that additional discovery is required on Plaintiff States’ standing.”)



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that litigants are not “free to engage in ‘self-help,’ . . . in light of perceived failures by the

opposing party in the discovery process”); Lopez v. Don Herring Ltd., 327 F.R.D. 567, 581 (N.D.

Tex. 2018) (“[A] party cannot refuse to engage in—and is not excused from being subjected to—

discovery simply because the discovery is relevant to a claim on which the resisting party

believes that he will or should prevail.”).

       Plaintiff States’ withholding of information on the basis that no issues of material fact

exist, and that standing is proven with the information on the preliminary injunction record,

violates the Federal Rules, this Court’s order, and basic notions of fairness.

               3.      Defendant-Intervenors’ requests are relevant to Plaintiff States’ claims
                       on the merits

       Finally, Texas is mistaken in assuming that the information Defendant-Intervenors seek is

only relevant to standing. Even if Plaintiff States were correct in asserting that this Court has

made a final ruling as to Texas’s standing (which they are not), the evidence Defendant-

Intervenors seek is relevant to the merits of Plaintiff States’ claims, including the balance of the

equities and whether DACA causes Plaintiff States irreparable harm. See Amoco Prod. Co. v.

Vill. of Gambell, AK, 480 U.S. 531, 546 n. 12 (1987) (noting the standard for a permanent

injunction is essentially the same for a preliminary injunction, except the plaintiff must show

actual success on the merits rather than a likelihood of success”); Flowserve Corp. v. Hallmark

Pump Co., No. 4:09-CV-0675, 2011 WL 1527951, at *9 (S.D. Tex. Apr. 20, 2011) (same).

Instead, as Plaintiff States’ own, former references to the “normal discovery period”

demonstrate, additional discovery on the factors relevant to the preliminary injunction standard is

wholly appropriate and common following denial of such a motion.

       The scope of Plaintiff States’ harm is also critical for this Court’s determination of the

appropriate scope of the remedy Plaintiff States seek. See OCA-Greater Houston v. Texas, 867



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F.3d 604, 616 (5th Cir. 2017) (vacating injunction by district court and holding injunction must

not “exceed[] the scope of the [plaintiffs’] harm.”). Therefore, Plaintiff States’ claim that

standing is a settled matter is, aside from being incorrect in the context of a final judgment,

simply not a proper basis for withholding discoverable information.

       B.      Plaintiff States’ additional objections are without merit

       Plaintiff States’ additional objections are also without merit. As more fully set forth in

Defendant-Intervenors’ February 1, 2019 deficiency letter to Plaintiff States (see Ex. 14), which

Defendant-Intervenors incorporate by reference, Plaintiff States’ remaining responses and

objections are similarly insufficient because:

      Plaintiff States make boilerplate objections about overbreadth and burden but do
       not support their objections with the necessary affidavits or other evidence
       describing specifically the nature of the overbreadth or burden. See McLeod,
       Alexander, Powel & Apffel, P.C. v. Quarles, 894 F.2d 1482, 1485 (5th Cir. 1990)
       (party resisting discovery must show specifically how each interrogatory is not
       relevant or how each question is overly broad, burdensome or oppressive)
       (citation omitted); Alonso v. Agrigenetics, Inc., No. B-04-005, 2004 WL 2668801,
       at *2 (S.D. Tex. Nov. 15, 2004) (“[O]bjections must be accompanied by affidavits
       or other evidence revealing the nature of why the discovery is objectionable.”);
       Lopez, 327 F.R.D. at 580 (“A party resisting discovery must show how the
       requested discovery is overly broad, unduly burdensome, or oppressive by
       submitting affidavits or offering evidence revealing the nature of the burden.”).

      Plaintiff States provide responses “subject to and without waiving their
       objections,” and this language is evasive and not allowed by the Federal Rules of
       Civil Procedure. See Lopez, 327 F.R.D. at 580 (“[R]esponding to interrogatories
       . . . ‘subject to’ and/or ‘without waiving’ objections is manifestly confusing (at
       best) and misleading (at worse), and has no basis at all in the Federal Rules of
       Civil Procedure.”) (internal quotations omitted).

      Plaintiff States respond by incorporating by reference their complaint and motion
       for preliminary injunction, but general references to filings in this case amount to
       an evasive and incomplete response. See Fed. R. Civ. P. 33(b)(3) (interrogatories
       must “be answered separately and fully in writing under oath”); see also Fed. R.
       Civ. P. 33(d)(1) (allowing a party to respond to an interrogatory by specifying
       business records in limited situations and requiring the party to “specif[y] the
       records that must be reviewed, in sufficient detail to enable the interrogating party
       to locate and identify them as readily as the responding party could”); Fed. R.


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       Civ. P. 37(a)(4); Meltzer/Austin Rest. Corp. v. Benihana Nat. Corp., No. A-11-
       CV-542-LY, 2013 WL 2607589, at *7 (W.D. Tex. June 10, 2013) (determining
       that interrogatory response that incorporated references to complaint was
       insufficient).

      Some of Defendant-Intervenors’ requests ask Plaintiff States to identify costs by
       each Plaintiff, but Plaintiff States do not provide this breakdown; instead, Plaintiff
       States provide “examples” of costs to the State of Texas or purport to summarize
       the preliminary injunction record. These responses are evasive and incomplete.
       See Fed. R. Civ. P. 37(a)(4).

      Plaintiff States did not verify their responses. See Fed. R. Civ. P. 33(b)(5) (“The
       person who makes the answer must sign them . . . .”); Fed. R. Civ. P. 33(b)(3)
       (requiring each interrogatory to be answered under oath). All Plaintiff States
       must provide signatures from the individual or individuals who answered for each
       Plaintiff. See Fed. R. Civ. P. 33(b); Wilson v. Navika Capital Grp., LLC, No.
       4:10-CV-1569, 2014 WL 223211, at *7 (S.D. Tex. Jan. 17, 2014) (ordering
       verification by all plaintiffs on penalty of dismissal); Martinez v. Salazar, No.
       1:14-CV-00534 KG/WPL, 2015 WL 13638319, at *2 (D.N.M. Apr. 28, 2015)
       (“Rule 33 is clear that interrogatories must be answered and signed by the party to
       whom they are directed.”); Krank v. Fulton Bank, No. 89-2871, 1989 WL 149941,
       at *1 (E.D. Pa. Dec. 11, 1989) (“[I]t is clear that interrogatories may not generally
       be answered jointly where joint affirmance leaves unclear which party has the
       information provided.”).

      Plaintiff States’ responses do not address all the Interrogatory subparts and are
       therefore incomplete and insufficient. See Fed. R. Civ. P. 37(a)(4).

      Plaintiff States make a number of general objections that are not connected to any
       one request in particular. These boilerplate, general objections do not comply
       with the Federal Rules of Civil Procedure, and are therefore insufficient to justify
       Plaintiff States’ deficient answers and production. See Fed. R. Civ. P. 33(b)(4)
       (“The grounds for objecting to an interrogatory must be stated with specificity.”);
       Lopez, 327 F.R.D. at 578 (“General or boilerplate objections are invalid.”); Simon
       v. State Farm Lloyds, No. 7:14-CV-251, 2015 WL 12777219, at *4 (S.D. Tex.
       Apr. 9, 2015) (determining that plaintiff was “flagrantly abusing the discovery
       process by indiscriminately levying general objections”) (internal quotations
       omitted); Hall v. Louisiana, No. 12-657-BAJ-RLB, 2014 WL 2560579, at *1
       (M.D. La. June 6, 2014) (“This prohibition against general objections to discovery
       requests has been long established.”).

In addition, Plaintiff States do not explain when they fail to produce documents because those

documents do not exist. See Enron Corp. Savings Plan v. Hewitt Associates, LLC, 258 F.R.D.1

149, 166 (S.D. Tex. 2009) (finding defendant’s “boilerplate objections lack merit” where


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plaintiffs argued that defendants “failed to disclose whether responsive documents exist”);

Bacharach v. SunTrust Mortg., Inc., No. CIV.A. 14-0962, 2015 WL 1843007, at *4 (E.D. La.

Apr. 22, 2015) (where party made inadequate objections and did not state the information

requested does not exist, granting motion to compel).

       C.      Plaintiffs Alabama, Arkansas, Louisiana, Nebraska, South Carolina, West
               Virginia, Kansas, and Mississippi should be dismissed

       In the Fifth Circuit, courts have an obligation to affirmatively dismiss parties who do not

have standing. See Nat’l Rifle Ass’n of Am., Inc. v. McCraw, 719 F.3d 338, 344 n. 3 (5th Cir.

2013) (“While EPA and Bowsher give courts license to avoid complex questions of standing in

cases where the standing of others makes a case justiciable, it does not follow that these cases

permit a court that knows that a party is without standing to nonetheless allow that party to

participate in the case”) (emphasis in original); Veasey v. Perry, 29 F. Supp. 3d 896, 902 (S.D.

Tex. 2014) (dismissing plaintiff counties for lack of standing and noting that “[w]hile one

plaintiff with standing may satisfy the Court’s Article III jurisdiction, the Court still has the

obligation to police its docket and dismiss parties who do not have standing.”).

       Plaintiffs Alabama, Arkansas, Louisiana, Nebraska, South Carolina, West Virginia,

Kansas, and Mississippi have made no effort to show they have standing and to call for an

injunction halting DACA, and have to date produced no information supporting such standing.

As a threshold matter, none of these Plaintiff States even plead any injuries resulting from

DACA with the requisite specificity. The only allegations about harm to Alabama, Arkansas,

Louisiana, Nebraska, South Carolina, West Virginia, Kansas, and Mississippi in Plaintiff States’

operative complaint are conclusory claims about harm to “Plaintiff States.” See, e.g., Dkt. 104 ¶

221 (“DACA imposes significant costs on Plaintiff States”); id. ¶ 228 (“Plaintiff States have

incurred considerable financial injuries on education, healthcare, and law-enforcement costs



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caused by DACA”); id. ¶ 231 (“Plaintiff States” incur financial costs “particularly education,

healthcare, and law-enforcement costs”).

       In addition, since Plaintiff States filed this case a year ago, these Plaintiff States have not

identified persons likely to have discoverable information or documents they may use to support

their standing. These Plaintiff States have also not made any expert disclosures, offered any fact

witnesses, or produced any reports or information relevant to their standing. In its order denying

Plaintiff States’ motion for a preliminary injunction, this Court recognized these Plaintiffs have

made no effort to show their standing. See Dkt. 319 (Opinion and Order) at 31 (“[T]he States

have centered their standing arguments around DACA’s impact in Texas[.]”); see also Dkt. 357

(Pls’ MSJ) at 37 (arguing that the “evidence introduced by the Plaintiff States showed that Texas

bears hundreds of millions of dollars in costs providing social services to unlawfully present

aliens” but not making the same claim as to other Plaintiff States). Because the record has not

changed since the Court issued its memorandum and opinion on Plaintiff States’ motion for

preliminary injunction, Plaintiffs Alabama, Arkansas, Louisiana, Nebraska, South Carolina,

West Virginia, Kansas, and Mississippi cannot show they have standing.

       The standing of these Plaintiff States is not inconsequential because, as noted above, their

alleged harms also bear on the merits of Plaintiff States’ request for permanent injunctive relief

and the scope of the remedy Plaintiff States seek. The Court must fashion a remedy consistent

with the evidence of harm to the parties in the case. See OCA-Greater Houston, 867 F.3d at 616.

The parties dispute the appropriate scope of the necessary injunction were Plaintiff States to

prevail on the merits. Compare, e.g., Dkt. 104 at 73 (requesting nationwide injunction) with Dkt.

217 at 3 (requesting the Court to limit injunctive relief to “DACA recipients as to whom




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Plaintiffs have demonstrated standing.”). 7 Therefore, allowing Plaintiffs Alabama, Arkansas,

Louisiana, Nebraska, South Carolina, West Virginia, Kansas, and Mississippi to remain in the

case when they do not have standing to sue would be highly prejudicial to Defendant-

Intervenors.

         In the alternative to dismissal, Defendant-Intervenors request that the Court order that

Plaintiffs Alabama, Arkansas, Louisiana, Nebraska, South Carolina, West Virginia, Kansas, and

Mississippi do not have standing and may not participate in the case by offering evidence or

argument on Plaintiff State of Texas’s claims. 8 Even if it is appropriate for the additional

Plaintiff States to remain as technical parties due to Texas’ standing, it is wholly inappropriate

for the participation of these parties to impact the scope of Plaintiff States’ requested relief (i.e.,

arguing that DACA causes nationwide harm, including to all Plaintiff States) where Plaintiff

States other than Texas have refused to provide any discovery to support such claims. In any

event, Defendant-Intervenors should not be prejudiced by the participation of parties that lack

standing and have opted out of discovery.

VI.      CONCLUSION

         For the foregoing reasons, Defendant-Intervenors respectfully request that the Court

compel the State of Texas to answer Defendant-Intervenors’ second and fifth sets of discovery

requests, and supplement its production. See Exs. 11 & 15. Specifically, Defendant-Intervenors

request that the Court compel the State of Texas to answer Interrogatories Nos. 4-15 and 18-21

and to produce discovery responsive to Requests for Production Nos. 2 and 8. Defendant-
7
  See also Application for a Stay at 24-25, Trump v. Stockman, No. 18-678 (noting that “[n]ationwide injunctions…
transgress both Article III and longstanding equitable principles by affording relief that is not necessary to redress
any cognizable, irreparable injury to the parties in the case.”); Ex. 19 (U.S. Dep’t of Justice, Litigation Guidelines
for Cases Presenting the Possibility of Nationwide Injunctions (September 23, 2018)) (noting the department’s
“considered and longstanding position” against nationwide injunctions).
8
  These Plaintiff States may pursue the option of filing an amicus brief if they want to present information to the
Court.



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Intervenors further request that the Court order Plaintiff States to verify their answers and to

specify in their responses and objections whether they are unable to produce the discovery

requested by Defendant-Intervenors because the information Defendant-Intervenors seek does

not exist.

        In addition, Defendant-Intervenors request that the Court dismiss all other Plaintiff States

from the case or enter an order declaring that the other Plaintiff States lack standing.

        Particularly in light of Plaintiff States’ pending Motion for Summary Judgment—which,

if granted, would result in a finding that there are no disputes of material fact—Defendant-

Intervenors also request that the Court extend all deadlines in the Rule 16 scheduling order for a

period of time equal to the number of days between the filing of this motion and the day Texas

produces a complete, supplemental production to Defendant-Intervenors. Finally, Defendant-

Intervenors request that the Court order Plaintiff States to pay reasonable expenses incurred by

Defendant-Intervenors in connection with this motion. See Fed. R. Civ. P. 37(d)(3); Fed. R. Civ.

P. 37(c)(1)(A).

Dated: May 14, 2019                                   Respectfully Submitted,

                                                      MEXICAN AMERICAN LEGAL
                                                      DEFENSE AND EDUCATIONAL FUND
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                             CERTIFICATE OF CONFERENCE

        I, the undersigned, hereby certify that, on February 1, 2019, counsel for Defendant-
Intervenors emailed Todd L. Disher, counsel for Plaintiffs, a deficiency letter stating why
Plaintiffs’ objections and responses to Defendant-Intervenors’ second set of discovery requests
are deficient. See Ex. 14. On March 4, 2019, Mr. Disher responded that Plaintiffs would not
supplement their responses and production because there are no genuine issues of material fact
that require additional factual development in the case. See Ex. 9. That same day, Mr. Disher
emailed Plaintiffs’ responses and objections to Defendant-Intervenors’ Interrogatories Nos. 18-
21 and Request for Production No. 8 and refused to produce any discovery as to these requests
either. See Ex. 16. On May 10, 2019, I emailed Mr. Disher to ask for Plaintiffs’ position on
Defendant-Intervenors’ motion to compel Plaintiffs’ answers to Interrogatories Nos. 4-15 and
18-21 and production in response to Requests for Production Nos. 2 and 8, and request to dismiss
the non-Texas Plaintiffs and postpone all deadlines. That same day, Mr. Disher responded: “The
discovery requests referenced below appear to seek information related to potential injuries
suffered by the Plaintiff States. The evidence that the Plaintiffs States rely on to establish their
standing at this stage is cited in their motion for summary judgment. Is there a reason why
Intervenors cannot fully respond to that cited evidence (or argue that such cited evidence is
insufficient) rather than attempt to seek discovery related to potential injuries not cited in the
motion for summary judgment?” I responded to Mr. Disher that Defendant-Intervenors need
responses to our discovery requests. Mr. Disher responded that Plaintiffs stand on their
objections but would “discuss” any “specific information that [Defendant-Intervenors] believe
[they] are lacking in order to file a complete response to the cited evidence” in Plaintiffs’ motion
for summary judgment. On May 13, 2019, I emailed Mr. Disher again explaining that the
information Defendant-Intervenors believe is lacking is set out in their deficiency letter from
February 1 and fifth set of discovery requests. Mr. Disher did not produce any discovery but
responded, again, that Plaintiffs would “discuss” evidence Defendant-Intervenors believe is
“require[d] in order to respond to the evidence cited in the motion for summary judgment.”

       I also hereby certify that on May 14, 2019 I conferred with counsel for Defendant-
Intervenor New Jersey on this motion and New Jersey does not take a position on the motion.
Also on May 14, 2019, counsel for Defendant-Intervenors emailed Jeffrey Robins, counsel for
Federal Defendants, to confer on the motion. As of the filing of the motion, Federal Defendants
have not responded.

                                                     /s/ Nina Perales
                                                     Nina Perales

                                CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that, on the 14th day of May, 2019, I electronically filed
the above and foregoing document using the CM/ECF system, which automatically sends notice
and a copy of the filing to all counsel of record.

                                                     /s/ Alejandra Ávila
                                                     Alejandra Ávila



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